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                      EXHIBIT F
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                                                                                                                                                       US006836691B1

(12) United States Patent                                                                                                       (10) Patent No.:                      US 6,836,691 B1
       Stirton                                                                                                                  (45) Date of Patent:                            Dec. 28, 2004

(54) METHOD AND APPARATUS FOR                                                                                                      6,479,200 B1          11/2002 Stirton ........................ 430/30
        FILTERING METROLOGY DATA BASED ON                                                                                          6,529,282 B1           3/2003 Stirton et al. .....      ... 356/630
        COLLECTION PURPOSE                                                                                                    2002/0135781 A1             9/2002 Singh et al. ................ 356/601
(75) Inventor: James B. Stirton, Austin, TX (US)                                                                                                    OTHER PUBLICATIONS
                                                                                                                            Kenneth W. Tobin, Thomas P KarnoSwski, Fred Lakhani,
(73) Assignee: Advanced Micro Devices, Inc., Austin,                                                                        “Technology Consideration For Future Semiconductor Data
               TX (US)                                                                                                      Management Systems', Oak Ridge National Laboratory 1,
                                                                                                                            Oak Ridge, TN, USA.*
(*) Notice:             Subject to any disclaimer, the term of this                                                         Kenneth W. Tobin, Thomas P KarnoSwski, Fred Kakhani,
                        patent is extended or adjusted under 35                                                             “Integrated applications of inspection data in the Semicon
                        U.S.C. 154(b) by 0 days.                                                                            ductor manufacturing environment', Oak Ridge National
                                                                                                                            Laboratory 1, Oak Ridge, TN, USA.*
(21) Appl. No.: 10/427,620                                                                                                                (List continued on next page.)
(22) Filed:     May 1, 2003
                                                                                                                            Primary Examiner Leo Picard
(51)    Int. CI.7   - -- - - -- -- - -- -- - - -- - -- -- -- - -- - - -- -- - -- - - - - -- - -- --   G06F 19/00           ASSistant      Examiner-Carlos R. Ortiz


(52) U.S. Cl. ...............                 ... 700/108; 702/85                                                           (74) Attorney, Agent, or Firm Williams, Morgan &
(58) Field of Search ........................... 700/108, 95, 110,                                                          AmerSon
                        700/117; 702/85; 709/108, 320, 712/228;
                                                          71425,54,438/3. 345/70s                                           (57)                           ABSTRACT
                                                                                                                            A method includes collecting metrology data related to the
(56)                  References Cited                                                                                      processing of workpieces in a plurality of tools. Context data
                U.S. PATENT DOCUMENTS                                                                                       for the metrology data is generated. The context data
                                                                                                                            includes collection purpose data. The metrology data is
       5,864,773 A *              1/1999 Barna et al. .................. 702/85                                             filtered based on the collection purpose data. A process
       5,867,276 A                2/1999 McNeil et al. .............. 356/445                                               control activity related to one of the tools is conducted based
       5,877,860 A                3/1999 Borden ....................... 356/376                                             on the filtered metrology data. A System includes at least one
       5,880,838 A                3/1999 Marx et al. ................. 356/351
       5,896.294. A *             4/1999 Chow et al. ................ 700/121                                               metrology tool, a computer, and a proceSS controller. The
       6,051,348 A                4/2000 Marinaro et al. ............. 430.30                                               metrology tool is configured to collect metrology data
       6,081,334. A               6/2000 Grimbergen et al. ....... 356/357                                                  related to the processing of workpieces in a plurality of
       6,141,107 A              10/2000 Nishi et al. ................. 356/401                                              tools. The computer is configured to generate context data
       6,245,584 B1              6/2001 Marinaro et al. ............. 438/14                                                for the metrology data, the context data including collection
       6,263,255 B1              7/2001 Tan et al. ................... 700/121                                              purpose data. The proceSS controller is configured to filter
       6,319,884 B2 11/2001 Leduc et al................. 510/175                                                            the metrology databased on the collection purpose data and
       6,383,888 B1 5/2002 Stirton................ 438/401                                                                  conduct a process control activity related to one of the tools
       6,423.977 B1               7/2002 Hayasaki et al. ...... 250/559.19                                                  based on the filtered metrology data.
       6,433,878 B1               8/2002 Niu et al. ................... 356/603
       6,456.899 B1 * 9/2002 Gleason et al. ............. 700/212
       6,473,665 B2 * 10/2002 Mugibayashi et al. ...... 700/110                                                                                    20 Claims, 2 Drawing Sheets


                                                                                                         Collect metrology data related to the
                                                                                               200- processing of worses
                                                                                                                     3S
                                                                                                                         in a plurality of


                                                                                                         El
                                                                                                     Generate context data for the metrology
                                                                                               210 - data, the context data including collection
                                                                                                                   purpose data




                                                                                               220       Filter the metrology databased on the
                                                                                                                  collection purpose data




                                                                                               230- Conduct
                                                                                                     to one ofaE.     control activity related
                                                                                                               e tools based on the filtered
                                                                                                                metrology data
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                OTHER PUBLICATIONS                               U.S. Appl. No. 09/827,453, entitled “Method of Controlling
                                                                 Stepper Process Parameters Based Upon Optical Properties
R. Sherman, E. Tirosh, Z. Smilansky, “Automatic Defect           of Incoming Process Layers, and System for Accomplishing
Classification System for Semiconductor Wafers”, Machine         Same,” filed Apr. 6, 2001.
Vision Applications in Industrial Inspection, SPIE vol. 1907,
p. 72, May 1993.*                                                U.S. Appl. No. 10/005,486, entitled “Method of Using
T.P. Karnowski, K.W. Tobin, R.K. Ferrell, and F. Lakhani,        Scatterometry Measurements to Control Stepper Process
“Content Based Image Retrievel for Semiconductor Manu            Parameters,” filed Nov. 8, 2001.
facturing”, IS&T/SPIE’s 12th International Symposium on          U.S. Appl. No. 10/084,987, entitled “Method of Using High
Electronic Imaging: Science and Technology, San Jose Con         Yielding Spectra Scatterometry Measurements to Control
vention Center, Jan. 2000.*                                      Semiconductor Manufacturing Processes, and Systems for
Kenneth W. Tobin, Thomas PKarnowski, Fred Lakhani, Jul.          Accomplishing Same,” filed Feb. 28, 2002.
2000, “Technology Consideration For Future Semiconduc
tor Data Management Systems', Oak Ridge National Labo            U.S. Appl. No. 10/404,026, entitled “Method of Using
ratory 1, Oak Ridge, TN, USA.*                                   Adaptive Sampling Techniques to Quantify Tool Perfor
Kenneth W. Tobin, Thomas PKarnowski, Fred Lakhani, Jan.          mance, and System for Performing Same,” filed Apr. 3,
2001, “Integrated applications of inspection data in the         2003.
Semiconductor manufacturing environment', Oak Ridge
National Laboratory 1, Oak Ridge, TN, USA.*                      * cited by examiner
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       10
                                                          Process
                                                         Controller
                                                              120

                                                          30
         90             Tool      Tool           TOO    4-1

                                                                    40
        1 OO            Tool      Tool           Tool     Tool      /
                        40A       4OB            40C      40D



        Erio ||
       Awar
      C3SC
                        TOO
                         OO
                                  TOO
                                   OO
                                                 TOO
                                                  OO

                                                         -    50



                                                  60
                        TOO       TOO       4-1           Process
                         60A      6OB                    Controller
                                  up                          120




                                                              70
                        TOO       TOO            TOO    4-1
      Fault
     Monitor
      130                                                     80
                        TOOl      Too            TOO




                                                          Process
                                                         Controller
                            Figure 1                          120
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               Collect metrology data related to the
        200- processing  of workpieces in a plurality of
                                       tools




                 Generate context data for the metrology
        21 O     data, the context data including collection
                               purpose data




        220        Filter the metrology data based on the
                            Collection purpose data




                 Conduct a process control activity related
        230       to one of the tools based on the filtered
                                  metrology data




                                  Figure 2
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                              1                                                                     2
            METHOD AND APPARATUS FOR                               defective,  or the  wafer  may  be Scrapped, depending on the
     FILTERING METROLOGY DATA BASED ON                             magnitude and nature of the fault condition. Process tools
                 COLLECTION PURPOSE                                may be monitored during their processing runs. If an
                                                                   anomaly is observed during the processing, the tool may be
           BACKGROUND OF THE INVENTION
                                                                   shut  down for maintenance. The wafers processed by the
                                                                   tool may be flagged for Subsequent metrology to determine
   1. Field of the Invention                                       if the tool anomaly caused a degradation of the devices
   This invention relates generally to an industrial process, formed thereon. Again, the Suspect waferS may be reworked
and, more particularly, to a method and apparatus for filter or Scrapped.
ing metrology data based on collection purpose in a Semi              Typically, when a process controller gathers metrology
conductor device manufacturing environment                         data to update its control model or generate a control action
   2. Descripiion of the Related Art                               for Subsequent processing, it retrieves metrology data
   There is a constant drive within the Semiconductor indus        related to wafers processed in the tool or tools under its
try to increase the quality, reliability and throughput of 15 control       and employs that data to perform its control task. The
integrated circuit devices, e.g., microprocessors, memory data           retrieved includes metrology data collected through the
devices, and the like. This drive is fueled by consumer regular             Sampling plans implemented in the facility, and the
demands for higher quality computers and electronic devices metrology data
                                                                   metrology          collected for other purposes. Some of the
that operate more reliably. These demands have resulted in process or the devicesnot
                                                                                data does       accurately reflect the State of the
                                                                                             manufactured.   For example, devices
a continual improvement in the manufacture of Semicon processed by a tool that was malfunctioning                        may have
ductor devices, e.g., transistors, as well as in the manufac characteristics that were affected by the malfunction
ture of integrated circuit devices incorporating Such transis Special cause) rather than by normal process variation(Le.,          a
                                                                                                                              (i.e.,
tors. Additionally, reducing the defects in the manufacture of common cause). Employing this data for use in process
the components of a typical transistor also lowers the overall control routines may introduce a Source of variation that
cost per transistor as well as the cost of integrated circuit 25 cannot be addressed by the process controller and thus
devices incorporating Such transistors.
   Generally, a set of processing StepS is performed on a reduce the effectiveness of the process controller.
wafer using a variety of processing tools, including photo            The present invention is directed to overcoming, or at
lithography Steppers, etch tools, deposition tools, polishing forth reducing
                                                                   least
                                                                          above.
                                                                                   the effects of, one or more of the problems Set
tools, rapid thermal processing tools, implantation tools, etc.
One technique for improving the operation of a Semicon                          SUMMARY OF THE INVENTION
ductor processing line includes using a factory wide control
System to automatically control the operation of the various          One aspect of the present invention is Seen in a method for
processing tools. The manufacturing tools communicate filtering metrology data. The method includes collecting
with a manufacturing framework or a network of processing 35 metrology data related to the processing of workpieces in a
modules. Each manufacturing tool is generally connected to plurality of tools. Context data for the metrology data is
an equipment interface. The equipment interface is con generated. The context data includes collection purpose
nected to a machine interface which facilitates communica          data. The metrology data is filtered based on the collection
tions between the manufacturing tool and the manufacturing purpose data. A process control activity related to one of the
framework. The machine interface can generally be part of 40 tools is conducted based on the filtered metrology data.
an advanced process control (APC) system. The APC system              Another aspect of the present invention is seen in a System
initiates a control Script based upon a manufacturing model, including at least one metrology tool, a computer, and a
which can be a Software program that automatically process controller. The metrology tool is configured to
retrieves the data needed to execute a manufacturing pro collect metrology data related to the processing of work
CCSS.                                                           45 pieces in a plurality of tools. The computer is configured to
   Often, Semiconductor devices are Staged through multiple generate context data for the metrology data, the context
manufacturing tools for multiple processes, generating data data including collection purpose data. The process control
relating to the quality of the processed Semiconductor ler is configured to filter the metrology data based on the
devices. Pre-processing and/or post-processing metrology collection purpose data and conduct a process control activ
data is collected on a regular basis, generally in accordance 50 ity related to one of the tools based on the filtered metrology
with a Sampling plan, for process control purposes. The data.
collected metrology data is used by the process controllers
for the tools. Operating recipe parameters are calculated by               BRIEF DESCRIPTION OF THE DRAWINGS
the proceSS controllers based on the performance model and
the metrology information to attempt to achieve post 55 following     The invention may be understood by reference to the
processing results as close to a proceSS target value as panying drawings,     description taken in conjunction with the accom
possible. Reducing variation in this manner leads to                                     in which like reference numerals identify
increased throughput, reduced cost, higher device like elements, and in which:
performance, etc., an of which equate to increased profit             FIG. 1 is a simplified block diagram of a manufacturing
ability.                                                        60 System in accordance with one embodiment of the present
   Metrology data is also used for other purposes not related invention; and
to process control. One Such use is for fault detection and           FIG. 2 is a simplified flow diagram of a method for
classification (FDC). Fault monitors apply FDC techniques filtering metrology data in accordance with another embodi
to identify devices or tools with fault conditions. For ment of the present invention.
example, if a particular device has a critical dimension 65 While the invention is susceptible to various modifica
outside a predetermined range, it is flagged as being defec tions and alternative forms, specific embodiments thereof
tive. The wafer may be reworked, the die may be marked have been shown by way of example in the drawings and are
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herein described in detail. It should be understood, however,    art effectively convey the substance of their work to others
that the description herein of Specific embodiments is not       of ordinary skill in the art. An algorithm, as the term is used
intended to limit the invention to the particular forms          here, and as it is used generally, is conceived to be a
disclosed, but on the contrary, the intention is to cover all    Self-consistent Sequence of Steps leading to a desired result.
modifications, equivalents, and alternatives falling within      The Steps are those requiring physical manipulations of
the Spirit and Scope of the invention as defined by the          physical quantities. Usually, though not necessarily, these
appended claims.                                                 quantities take the form of optical, electrical, or magnetic
                                                                 Signals capable of being Stored, transferred, combined,
       DETAILED DESCRIPTION OF SPECIFIC                          compared, and otherwise manipulated. It has proven con
                EMBODIMENTS                                      Venient at times, principally for reasons of common usage,
  Illustrative embodiments of the invention are described        to refer to these signals as bits, values, elements, Symbols,
below. In the interest of clarity, not all features of an actual characters, terms, numbers, or the like.
implementation are described in this specification. It will of      It should be borne in mind, however, that all of these and
course be appreciated that in the development of any Such 15 Similar terms are to be associated with the appropriate
actual embodiment, numerous implementation-specific physical quantities and are merely convenient labels applied
decisions must be made to achieve the developerS Specific to these quantities. Unless Specifically Stated otherwise, or as
goals, Such as compliance with System-related and busineSS is apparent from the discussion, terms Such as “processing
related constraints, which will vary from one implementa or “computing” or “calculating” or “determining” or “dis
tion to another. Moreover, it will be appreciated that Such a playing or the like, refer to the action and processes of a
development effort might be complex and time-consuming, computer System, or Similar electronic computing device,
but would nevertheless be a routine undertaking for those of that manipulates and transforms data represented as
ordinary skill in the art having the benefit of this disclosure. physical, electronic quantities within the computer System's
   Referring to FIG. 1, a simplified block diagram of an registers         and memories into other data Similarly represented
                                                                 as physical quantities within the computer System memories
illustrative manufacturing system 10 is provided. In the 25 or
illustrated embodiment, the manufacturing System 10 is or registers  display
                                                                              or other Such information Storage, transmission
                                                                             devices.
adapted to fabricate Semiconductor devices. Although the
invention is described as it may be implemented in a                An exemplary information eXchange and process control
Semiconductor fabrication facility, the invention is not So      framework    suitable for use in the manufacturing system 10
limited and may be applied to other manufacturing environ is an Advanced Process Control (APC) framework, such as
ments. The techniques described herein may be applied to a may be implemented using the Catalyst System offered by
Variety of Workpieces or manufactured items, including, but KLA-Tencor, Inc. The Catalyst system uses Semiconductor
not limited to, microprocessors, memory devices, digital Equipment and Materials International (SEMI) Computer
Signal processors, application specific integrated circuits Integrated Manufacturing (CIM) Framework compliant sys
(ASICs), or other devices. The techniques may also be 35 tem technologies and is based the Advanced Process Control
applied to workpieces or manufactured items other than (APC) Framework. CIM (SEMI E81-0699-Provisional
Semiconductor devices.                                           Specification for CIM Framework Domain Architecture)
   A network 20 interconnects various components of the          and APC (SEMI E93-0999-Provisional Specification for
                                                                 CIM Framework Advanced Process Control Component)
manufacturing System 10, allowing them to exchange infor specifications are publicly available from SEMI, which is
mation. The illustrative manufacturing System 10 includes a 40
plurality of tools 30–80. Each of the tools 30-80 may be headquartered in Mountain View, Calif.
coupled to a computer (not shown) for interfacing with the        A manufacturing execution system (MES) server 90
network 20. The tools 30-80 are grouped into sets of like directs
                                                                10. The
                                                                       the high level operation of the manufacturing System
                                                                         MES server 90 monitors the status of the various
tools, as denoted by lettered Suffixes. For example, the Set of
tools 30A-30C represent tools of a certain type, such as a 45 entities in the manufacturing System 10 (i.e., lots, tools
chemical mechanical planarization tool. A particular wafer 30–80) and controls the flow of articles of manufacture (e.g.,
or lot of wafers progresses through the tools 30-80 as it is lots of Semiconductor wafers) through the process flow. A
being manufactured, with each tool 30-80 performing a database           server 100 may be provided for storing data related
Specific function in the process flow. Exemplary processing to the Status of the various entities and articles of manufac
tools for a Semiconductor device fabrication environment 50 ture in the process flow. The database server 100 may store
include photolithography Steppers, etch tools, deposition information in one or more data stores 110. The data may
tools, polishing tools, rapid thermal processing tools, include pre-process and post-process metrology data, tool
implantation tools, etc. Exemplary metrology tools include States, lot priorities, etc.
thickneSS metrology tools, Scanning electron microscopes,         The processing and data Storage functions are distributed
optical metrology tools, electrical measurement tools, etc. 55 amongst the different computers or workstations in FIG. 1 to
The tools 30-80 are illustrated in a rank and file grouping for provide general independence and central information Stor
illustrative purposes only. In an actual implementation, the age. Of course, different numbers of computers and different
tools 30-80 may be arranged in any physical order or arrangements may be used without departing from the Spirit
grouping. Additionally, the connections between the tools in and Scope of the instant invention.
a particular grouping are meant to represent connections to 60 Process controllers 120 may be associated with one or
the network 20, rather than interconnections between the        more of the process tools 30-80. The process controllers 120
tools 30-80.                                                    determine control actions for controlling Selected ones of the
   Portions of the invention and corresponding detailed tools 30-80 serving as process tools based on metrology
description are presented in terms of Software, or algorithms data collected during the fabrication of wafers (i.e., by others
and Symbolic representations of operations on data bits 65 of the tools 30-80 serving as metrology tools). The particu
within a computer memory. These descriptions and repre lar control models used by the process controllers 120
sentations are the ones by which those of ordinary skill in the depend on the type of process tool 30-80 being controlled,
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and the particular metrology data collected for use in con         particular region of wafer (e.g., the periphery region), the
junction with the control models depends on the feature            fault monitor 130 may request that additional metrology data
being formed by the particular process tool 30-80. The             be collected for that particular region.
control models may be developed empirically using com                 The MES server 90 may receive requests from various
monly known linear or non-linear techniques. The control           consumers to collect metrology data. These consumerS may
models may be relatively simple equation-based models              be fault detection entities or process control entities, for
(e.g., linear, exponential, Weighted average, etc.) or a more      example. The metrology tool (e.g., one of the tool 30-80)
complex model, Such as a neural network model, principal           collects the metrology data and the data is Stored in the data
component analysis (PCA) model, partial least Squares              store 110. The metrology data may be stored directly by the
projection to latent structures (PLS) model. The specific          metrology tool 30-80 or the data may be returned to the
implementation of the control models may vary depending            MES server 90 for storage. The metrology data is stored also
on the modeling techniques Selected and the process being with associated context data that includes identification data
controlled. The Selection and development of the particular and collection purpose data.
control models would be within the ability of one of ordinary       Exemplary identification data includes lot identification
skill in the art, and accordingly, the control models are not 15 number (ID), wafer ID, location data (e.g., location of
described in greater detail herein for clarity and to avoid measurement on die or wafer), process-operation data (e.g.,
obscuring the instant invention.                                 last completed Step in the fabrication process), etc. The
   An exemplary process control Scenario involves the con collection purpose data indicates the initial purpose for the
trol of a gate electrode critical dimension (CD) in a transistor collection of the metrology data. For example, the purpose
Structure. Various processes and process variables may be may be process control Sampling, fault detection Sampling,
controlled to affect the gate electrode CD. For example, a targeted fault detection, etc.
photoresist mask is used to pattern the gate electrode. The         In one illustrative embodiment of the present invention,
photolithography processes used to form the mask may the collection purpose data is used to filter the metrology
affect the dimensions of the pattern and thus the dimensions data for Subsequent uses. For example, a process controller
of the gate electrode formed by an etch proceSS using the 25 120 would conventionally employ all metrology data for a
mask. Exposure time and energy may be controlled to affect particular tool 30-80 and process-operation operation for
the dimensions of the mask. The parameters (e.g., etch time, updating the States of its control model and generating a
plasma power, etch gas makeup and concentration, etc.) of control action for modifying an operating recipe parameter
the etch process may also affect the CD of the completed for the tool 30-80. By using the collection purpose data to
gate electrode and may be controlled by a process controller filter the metrology data, metrology data collected for fault
120. The processes and variables described above that affect detection purposes, where the likelihood of a fault being
the gate electrode CD are not exhaustive. Other processes present is higher, can be excluded. Filtering the metrology
may be performed that have an impact of the CD and other data in this manner may improve the performance of the
variables of those processes may be controlled.                  process controller 120 by removing outlier data that exhibits
   In some embodiments, a fault monitor 130 executing on 35 variation from a Source other than normal proceSS Variation.
a workstation 135 may be provided for monitoring fault If the process controller 120 were to act on metrology data
conditions with the tools 30-80 and/or devices manufac           that included special causes of variation (e.g., tool faults), it
tured. For example, a particular tool 30-80 may be perform would attempt to shift the process in a direction that might
ing poorly or feature formed on a device may have a actually increase variation and reduce the Stability of the
dimension outside an acceptable range of values. The fault 40 proceSS.
monitor 130 may implement one or more fault detection and           In Some cases, metrology data collected for process
classification (FDC) models to evaluate the condition of the control purposes may also be used in fault detection. The
various entities or devices. Metrology data is employed by MES server 90 would initially indicate that the collection
the fault monitor 130 to identify fault conditions with purpose would be process control Sampling. However, if the
various tools 30-80 or workpieces and also to update the 45 metrology data was later used in a fault detection analysis
FDC model(s) employed to identify the degraded condi and the wafer was determined to be faulty, the MES server
tions. The fault monitor 130 may use the metrology data 90 or fault monitor 130 may change the collection purpose
collected for process control purposes to perform its defect such that the metrology data would be filtered out for
analysis. For example, metrology data collected during a Subsequent process control activities. For example, the MES
photolithography process for forming the gate electrode etch 50 server 90 may set the collection purpose data to a value
mask may be used to control the photolithography tool indicating a known faulty wafer. However, if the metrology
30–80. The fault monitor 130 may also review the data to data indicated a fault condition that could be tracked back to
determine if the dimensions of the mask are within accept a process variation cause, the metrology data may still be
able limits. If the mask dimensions are outside the accept useful for process control purposes and the MES Server may
able range, the photoresist layer may be removed and the 55 leave the collection purpose data unchanged.
wafer reworked to form a new photoresist layer.                     Some fault detection Sampling data may also be randomly
   In other cases, the fault monitor 130 may target certain collected. In Such cases, a defect condition is not Suspected,
tools 30-80 or wafers for fault analysis and issue its own and the data is used for process oversight. Hence, it may be
metrology requests for data related to the targeted tool 30-80 possible that the data collected for fault detection purposes
or wafer. For example, if a particular tool parameter is 60 may still be useful for process control. In these cases, where
outside a range of expected values during a processing run, the initial purpose was fault detection, but no defect
waferS processed during that run may be targeted for metrol identified, the MES server 90 or fault monitor 130 may
ogy to determine if the parameter excursion introduced a change the collection purpose data to a value indicating this
defect in the processed device. The fault monitor 130 may condition, Such that the metrology data So collected could
also initiate metrology events in cases where the probability 65 Still be used for process control purposes.
of defect is higher than a baseline probability. For example,       Table 1 below list exemplary collection purpose codes
if a process is known to produce a higher defect rate on a that may be stored with the collected metrology data. The list
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is intended to be illustrative and not exhaustive or limiting       context data for the metrology data is generated. The context
to the application of the present invention.                        data includes collection purpose data. In block 220, the
                                                                    metrology data is filtered based on the collection purpose
                          TABLE 1.                                  data. In block 230, a process control activity related to one
                                                                    of the tools is conducted based on the filtered metrology
                    Collection Purpose Codes                        data.
      CP Code           Collection Purpose                             The particular embodiments disclosed above are illustra
      O1                Process Control Sampling
                                                                    tive only, as the invention may be modified and practiced in
      O2                Fault Detection Sampling                    different but equivalent manners apparent to those skilled in
      O3                Targeted Fault Detection                    the art having the benefit of the teachings herein.
      88                Fault Detection - no fault identified       Furthermore, no limitations are intended to the details of
      99                Known Defective
                                                                   construction or design herein shown, other than as described
                                                                   in the claims below. It is therefore evident that the particular
   The following examples illustrate the use of the collection 15 embodiments disclosed above may be altered or modified
purpose codes for filtering the metrology data. ProceSS and all Such variations are considered within the Scope and
control data is collected in accordance with a Sampling plan Spiritherein
                                                                          of the invention. Accordingly, the protection Sought
                                                                           is as set forth in the claims below.
implemented by the MES server 90 or other sampling                    What is claimed:
controller (not shown). The collection purpose code for this          1. A method, comprising:
data is set at “01.” The fault monitor 130 requests metrology
data for random FDC oversight. The collection purpose code            collecting metrology data related to the processing of
for this data is set at “02.” The fault monitor 130 may also             Workpieces in a plurality of tools,
use the “01” data for FDC oversight. In some cases the fault          generating context data for the metrology data, the con
monitor 130 may identify that a particular tool parameter                text data including collection purpose data;
was outside expected limits during a processing run or that 25 filtering the metrology data based on the collection pur
the health of a particular tool 30-80 has degraded to a level            pose data; and
indicating a need for maintenance or troubleshooting. The             conducting   a proceSS control activity related to one of the
fault monitor 130 may request additional metrology data be               tools based  on the filtered metrology data.
collected for wafers processed during the particular proceSS          2. The  method   of claim 1, wherein generating the context
run or by the degraded tool 30-80. This targeted fault data further comprises                generating identification data asso
detection data would have a collection purpose code of ciated with the metrology                 data, and filtering the metrology
“03'analysis of the “01” and “02” indicates that a fault data further comprises filtering             the metrology databased on
condition may exist, additional metrology data may be the identification data and the collection                purpose data.
requested. Such additional metrology data would have a                3. The method of claim 1, wherein generating the context
collection purpose code of “03.”                                35 data further comprises generating collection purpose data
   If the fault monitor 130 identifies a faulty die or wafer, it indicating at least one of a proceSS control Sampling purpose,
may change the collection purpose code of the “01” or “02” a fault detection Sampling purpose, and a targeted fault
or “O3’ data to “99. If no fault is identified for the “O2 or      detection purpose.
“03’ data, the fault monitor 130 may change the collection            4. The method of claim 1, further comprising:
purpose code to "88. In Some embodiments, user interven 40 identifying a fault condition for a workpiece based on the
tion may be required before the collection purpose code can              metrology data; and
be changed. For example, the metrology data collected for
targeted fault detection may indicate that the processed              changing   the collection purpose data responsive to iden
devices are Satisfactory, however, variation may have been               tifying the fault condition.
introduced by the observed condition that led to the target 45 5. The method of claim 1, further comprising:
ing. In Such cases, the metrology data may not be useful for          identifying an absence of a fault condition for a workpiece
proceSS control due to the presence of the additional Source             based on the metrology data; and
of variation, and the collection purpose code may remain              changing the collection purpose data responsive to iden
unchanged. User input may be used to determine if the                    tifying the absence of the fault condition.
variation is of this type, and the collection purpose code 50 6. The method of claim 1, wherein conducting the process
should not be changed.                                             control activity further comprises updating a State of a
   When the process controller 120 gathers metrology data control model employed by a proceSS controller associated
for process control purposes (e.g., State update or control         with one of the tools.
action generation), it filters the metrology data, So that data   7. The method of claim 1, wherein conducting the process
that is leSS useful for process control purposes is ignored. 55 control activity further comprises determining at least one
For example, the process controller 120 may gather “01.” parameter of an operating recipe employed by one of the
“02,” and “88” data and exclude the metrology data where tools.
fault conditions are more likely to exist (Le., the “03” and      8. The method of claim 1, wherein filtering the metrology
“99” data). Filtering the data in this manner may increase the data further comprising excluding metrology data associated
efficacy of the proceSS controller 120 because non-proceSS 60 with a potential defect condition based on the collection
Sources of variation; may be removed from the data Set used purpose data.
for the proceSS control purpose.                                  9. The method of claim 1, further comprising storing the
   Turning now to FIG. 2, a simplified flow diagram of a metrology data and the context data in a data Store.
method for filtering metrology data in accordance with             10. A System, comprising:
another embodiment of the present invention is provided. In 65 at least one metrology tool configured to collect metrol
block 200, metrology data related to the processing of               ogy data related to the processing of workpieces in a
workpieces in a plurality of tools is collected. In block 210,       plurality of tools,
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                             9                                                                10
   a computer configured to generate context data for the employed by a process controller associated with one of the
      metrology data, the context data including collection tools based on the filtered metrology data.
      purpose data, and                                             16. The system of claim 10, wherein the process controller
   a process controller configured to filter the metrology data is further configured to determine at least one parameter of
      based on the collection purpose data and conduct a an operating recipe employed by one of the tools based on
      process control activity related to one of the tools based the filtered metrology data.
      on the filtered metrology data.                               17. The system of claim 10, wherein the process controller
   11. The system of claim 10, wherein the context data is further configured to filter the metrology data by exclud
further comprises identification data associated with the ing metrology data associated with a potential defect con
metrology data, and the process controller is further config
ured to filter the metrology data based on the identification dition based on the collection purpose data.
data and the collection purpose data.                               18. The system of claim 10, further comprising a data
   12. The system of claim 10, wherein the collection Store configured to Store the metrology data and the context
purpose data indicates at least one of a proceSS control data.
Sampling purpose, a fault detection Sampling purpose, and a 15 19. The system of claim 1, wherein the computer com
targeted fault detection purpose.                                prises at least one of a manufacturing execution System
   13. The system of claim 10, further comprising a fault Server and a fault monitor.
monitor configured to identify a fault condition for a work        20. A System, comprising:
piece based on the metrology data, wherein at least one of
the computer and the fault monitor is configured to change          means for collecting metrology data related to the pro
the collection purpose data responsive to identifying the             cessing of workpieces in a plurality of tools,
fault condition.                                                    means for generating context data for the metrology data,
   14. The system of claim 10, further comprising a fault             the context data including collection purpose data;
monitor configured to identify an absence of a fault condi
tion for a workpiece based on the metrology data, wherein 25 means          for filtering the metrology data based on the
                                                                      collection purpose data; and
at least one of the computer and the fault monitor is further
configured to change the collection purpose data responsive         means for conducting a proceSS control activity related to
to identifying the absence of the fault condition.                    one of the tools based on the filtered metrology data.
   15. The system of claim 10, wherein the process controller
is further configured to update a State of a control model                               k  k  k   k  k
